Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 1 of 49




 EXHIBIT G
                   (Redacted)
       Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 2 of 49

                                                     U.S. Department of Justice

                                                     Special Counsel’s Office




                                                     August 11, 2023


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       Re:      United States v. Donald J. Trump, Case No. 23-cr-257 (TSC)

Dear Counsel:

       Pursuant to the Protective Order entered in this matter on August 11, 2023 (ECF No. 28),
the Government hereby makes its first production of unclassified discovery in this case. A minimal
amount of classified material related to this matter will be handled separately, in accordance with
the Classified Information Procedures Act (CIPA), 18 U.S.C. App. 3.

       Pursuant to the Protective Order (and as indicated in the attached, detailed Source Logs),
the Government designates everything in Production One as Sensitive except for the following
Bates ranges: 1

       •     SCO-00454838 – SCO-00456571;
       •     SCO-00470148 – SCO-00481133;
       •     SCO-00481134 – SCO-00685293;
       •     SCO-00685294 – SCO-00686138;
       •     SCO-04094057 – SCO-04094747;
       •     SCO-04948842 – SCO-04976506;
       •     SCO-06429174 – SCO-06430302; and

        1
         Prior to the parties’ August 11, 2023, hearing before the Court, the Government had
prepared the materials being produced today to include the marking, “SUBJECT TO
PROTECTIVE ORDER.” This marking does not supersede any “Non-Sensitive” designations
as noted in the Source Logs and subject to the Court’s protective order.
       Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 3 of 49




       •   SCO-11568641 – SCO-11572014.

        Additionally, the following Bates ranges were produced by entities associated with the
defendant. As indicated during today’s hearing, the Government is willing to confer with you and
any representative authorized to speak on behalf of those entities regarding whether these materials
can be excluded from the Sensitive designation or are already in the defendant’s possession such
that they are not covered by the Protective Order:

       •
       •
       •
       •                                                                   ; and
       •

       Production 1 is available in 14 parts, each password protected. Production 1A – M are
each in load-ready format, available through a link. Production 1N is available via a hard drive.
If you prefer to receive Production 1A – M on a hard drive, please let us know, and we will
accommodate that request.

       As an initial matter, to assist in your review of the discovery materials and as noted below,
Production 1M, further described and linked to below, is a compilation of key documents. This
compilation represents a reproduction of documents included in the other productions and includes
testimony and documents that support the indictment in this case, other material determined by the
Government to be pertinent, and information that is arguably favorable to the defense, including
summary agent testimony and associated exhibits before the grand jury at SCO-11575555 – SCO-
11605671.

       Set forth below is a summary of what is included in each portion of Production 1. To
further facilitate your review, each part of Production 1, except Production 1M, has a
corresponding Source Log that denotes by Bates range the source of the material.

       •   Discovery Production 1A – 8/3/2023, consisting of material in the Bates range SCO-
           00000001 through SCO-00481133, is available through the link below.




       •   Discovery Production 1B – 8/3/2023, consisting of material in the Bates range SCO-
           00481134 through SCO-00685293, is available through the link below.




                                                 2
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 4 of 49




•   Discovery Production 1C – 8/3/2023, consisting of material in the Bates range SCO-
    00685294 through SCO-01625791, is available through the link below.




•   Discovery Production 1D – 8/3/2023, consisting of material in the Bates range SCO-
    01625792 through SCO-02348189, is available through the link below.




•   Discovery Production 1E – 8/3/2023, Discovery Production 1F – 8/3/2023,
    Discovery Production 1G1 – 8/3/2023, and Discovery Production 1G2 – 8/3/2023,
    consisting of material in the Bates range SCO-02348190 through SCO-08289702, are
    available through the links below. As reflected in the Source Logs, these Discovery
    Productions include materials obtained from various individuals, private entities,
    government entities, and open-source materials.




•   Discovery Production 1H – 8/3/2023, consisting of material in the Bates range SCO-
    08289703 through SCO-8380611, is available through the link below.




                                       3
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 5 of 49




•   Discovery Production 1I – 8/3/2023 and Discovery Production 1J – 8/3/2023,
    consisting of material in the Bates range SCO-08380612 through SCO-11506088, is
    available through the links below.




•   Discovery Production 1K – 8/3/2023, consisting of material in the Bates range SCO-
    11506089 through SCO-11552086, is available through the link below. As reflected
    in the Source Log and described in more detail below, Discovery Production 1K
    includes witness statements for interviews and attempted interviews conducted in this
    investigation.



•   Discovery Production 1L – 8/3/2023, consisting of material in the Bates range SCO-
    11552087 through SCO-11572394, is available through the link below. As reflected
    in the Source Log, Discovery Production 1L includes, inter alia, additional grand jury
    transcripts and exhibits through August 1, 2023, additional exhibits to the House Select
    Committee Final Report, an additional Court Order, additional documents from a
    search warrant return, and a few additional productions from individuals, private
    entities, and governmental entities.



•   Discovery Production 1M – 8/3/2023, the aforementioned compilation of key
    documents with the Bates range SCO-11572395 through SCO-11619680, is also
    available in load-ready format through the link below. This disclosure is not intended
    to be exhaustive or to include every “key” or pertinent document. This disclosure does
    not limit the Government’s presentation at trial of documentary evidence. The
    Government reserves the right to present at trial documentary evidence not included in
    the key document compilation. The link to this production is:




•   Production 1N, consisting of returns from 2703(d) orders, certain electronic data
    obtained through grand jury subpoenas, and extractions from certain electronic
    facilities, is being made available on a hard drive, along with the UFED viewer to
    facilitate the review of the electronic material. Please note that the extracted contents
    of 4 of the 5 electronic devices are also included in the load ready files within the Bates
    ranges SCO-03065790 – SCO-3630352 and SCO-03647014 – SCO-03647444.




                                          4
       Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 6 of 49




                                                                    To facilitate your review, we
           also have included a Source Log identifying the material on the hard drive. Please let
           us know to what addressee and address we should provide this hard drive.

        For ease of use, each of the links above will also being provided in a separate email. We
will also provide the password to access each of the production links under separate cover. Please
note that the download links for Productions 1A – 1M expire in approximately 180 days. Should
you have any questions about how to access the production sets, or difficulty doing so, please
contact us. If necessary, we will make our paralegal and/or litigation support staff available to
answer questions and help facilitate your access to the production sets.

Background on Production 1

       To assist your review and access of the discovery, we note the following features of
Production 1:

       •




       •




                                                5
       Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 7 of 49




Search Warrants on Electronic Devices/Accounts

        This first discovery production includes material obtained pursuant to search warrants, as
reflected in the Source Logs, as well as the warrants and underlying applications. The Government
followed the filter protocols set forth in the warrants in accessing the seized items and providing
them to the investigative team. The filtered productions also were scoped to identify and seize
items responsive to the warrant. Production 1 contains filtered and scoped materials from the
search warrant returns. In the District of Columbia, when the scoping process for a search warrant
return is completed, the investigative team no longer has access to material identified as not being
within the scope of the warrant. Please inform us promptly if you believe you are entitled to any
unfiltered or unscoped search warrant returns.

       Please note that there will be additional productions of discovery. For example, the
Government is still processing some devices and search warrant returns. We will disclose the
responsive material promptly upon completion of that process, which we expect to be in the near
term.

Scope of Discovery

        The United States Attorney’s Office for the District of Columbia (“USAO”) maintains a
separate database of materials comprising discovery in the criminal cases related to the breach of
the United States Capitol on January 6, 2021. The investigative team has accessed certain
materials within that database and has taken into its possession certain materials that the
investigative team may rely upon or use at trial. Any such materials have been included in
Production 1 or will be included in future productions. To the extent that the investigative team
identifies any additional materials from the USAO’s database that it takes into the investigative
team’s possession, those materials will be provided in future productions in this case. If you
believe that the remainder of the evidence included in the USAO’s database is relevant and you
would like access to it, please let us know.

       The investigative team was also provided a laptop by one of the defendant’s electors in
Michigan. We have reviewed the laptop to identify and produce in discovery materials related to
this matter. If you would like to inspect the laptop further, please let us know so we can arrange a
time for you to do so.

        The investigative team also had access to email boxes, select files, and mobile devices of
certain then-employees of the Department of Justice during the relevant time-period. We have
reviewed and continue to review those materials to identify and to produce in discovery materials
related to this matter. We anticipate those materials to be finalized and produced in the near term.




                                                 6
       Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 8 of 49




       The Government’s first discovery production meets and exceeds our obligations under
Rules 16 and 26.2 of the Federal Rules of Criminal Procedure, the Jencks Act (18 U.S.C. § 3500),
or Brady, Giglio, and their progeny. The production of non-discoverable material does not obligate
the Government to provide other non-discoverable material, and the fact that certain non-
discoverable material is provided should not be taken as a representation as to the existence or
non-existence of any other non-discoverable material.

Request for Reciprocal Discovery

        By this letter, the Government also requests reciprocal discovery pursuant to Rule 16(b)(1)
of the Federal Rules of Criminal Procedure.

       If you have any questions, please feel free to contact us.

                                                     Yours truly,

                                                     JACK L. SMITH
                                                     Special Counsel


                                                     /s/Molly Gaston________________
                                                     Thomas P. Windom
                                                        Senior Assistant Special Counsel
                                                     Molly Gaston
                                                        Senior Assistant Special Counsel
                                                     Maria K. Vento
                                                        Assistant Special Counsel

Enclosures:




                                                 7
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 9 of 49
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 10 of 49
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 11 of 49
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 12 of 49
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 13 of 49
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 14 of 49
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 15 of 49
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 16 of 49
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 17 of 49
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 18 of 49
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 19 of 49
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 20 of 49
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 21 of 49
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 22 of 49
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 23 of 49
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 24 of 49
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 25 of 49
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 26 of 49
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 27 of 49
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 28 of 49
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 29 of 49
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 30 of 49
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 31 of 49
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 32 of 49
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 33 of 49
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 34 of 49
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 35 of 49
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 36 of 49
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 37 of 49
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 38 of 49
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 39 of 49
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 40 of 49
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 41 of 49
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 42 of 49
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 43 of 49
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 44 of 49
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 45 of 49
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 46 of 49
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 47 of 49
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 48 of 49
Case 1:23-cr-00257-TSC Document 166-8 Filed 11/27/23 Page 49 of 49
